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5
6    Attorney for Defendant
     DAVID USSERY
7
8
9
10                    IN THE UNITED STATES DISTRICT COURT
11                  FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,        ) Case No. 2:05-CR-0034 LKK
                                      )
14         Plaintiff,                 )
                                      ) STIPULATION AND ORDER RE RELEASE
15                         vs.        ) TO RESIDENTIAL DRUG TREATMENT
                                      )
16   DAVID USSERY,                    )
                                      )
17         Defendant.                 ) Judge: Hon. Carolyn K. Delaney
                                      )
18                                    )
                                      )
19
20
21        It is hereby stipulated and agreed between plaintiff,

22   United States of America, and defendant, David Ussery, that Mr.

23   Ussery’s motion for release to residential drug treatment filed

24   February 11, 2014, may be granted.        The parties ask that the

25   Court issue the order below releasing Mr. Ussery before 9:00

26   a.m. on Thursday, February 13, 2014.        Release may be to the

27   probation officer, to the U.S. Marshal, or otherwise, but

28   defense counsel has advised Mr. Ussery to report directly to the

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1    probation office at 501 I Street, Sacramento, to meet with his
2    probation officer and to be transported to the residential drug
3    treatment program at The Effort.          Probation advises it is able
4    to provide transportation.      The order should further provide:
5         You shall participate in the substance/alcohol abuse
          treatment program at The Effort, Inc., inpatient
6         facility,   and  comply    with all  the   rules  and
7         regulations of the program. You shall remain at The
          Effort, Inc., inpatient facility at 1550 Juliesse
8         Avenue, Sacramento, California, until released by the
          probation officer.   A responsible party, approved by
9         probation, shall escort you to all required court
          hearings and escort you back to The Effort upon
10        completion of the hearing.
11
12   All other conditions of supervised release shall remain in

13   effect.   Defense counsel will review the proposed order and

14   conditions with Mr. Ussery today, February 12.

15
16                                     Respectfully Submitted,

17                                     HEATHER E. WILLIAMS
                                       Federal Defender
18
19   Dated:    February 12, 2014       /s/ T. Zindel
                                       TIMOTHY ZINDEL
20                                     Assistant Federal Defender
                                       Attorney for DAVID USSERY
21
22                                     BENJAMIN B. WAGNER
                                       United States Attorney
23
24   Dated:    February 12, 2014       /s/ T. Zindel for J. Lee
                                       JUSTIN LEE
25                                     Assistant U.S. Attorney
26
27
28

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1                                    O R D E R
2         Mr. Ussery’s motion for release filed February 11, 2014, is
3    hereby GRANTED and Mr. Ussery is ordered released effective
4
     Thursday, February 13, 2014, by 9:00 a.m., and shall immediately
5
     report to the Probation Office at 501 I Street for
6
     transportation to The Effort.       Mr. Ussery shall participate in
7
8    the substance/alcohol abuse treatment program at The Effort,

9    Inc., inpatient facility, and comply with all the rules and

10   regulations of the program.      He shall remain at The Effort,
11   Inc., inpatient facility at 1550 Juliesse Avenue, Sacramento,
12
     California, until released by the probation officer.              A
13
     responsible party approved by probation shall escort him to all
14
     required court hearings and escort him back to The Effort upon
15
16   completion of the hearing.      All other conditions of supervised

17   release shall remain in effect.       Defense counsel shall review

18   all conditions of release with Mr. Ussery no later than the
19   close of business on February 12, 2014.
20
          IT IS SO ORDERED.
21
22   Dated:   February 12, 2014
23
                                          _____________________________________
24                                        CAROLYN K. DELANEY
                                          UNITED STATES MAGISTRATE JUDGE
25
26
27
28

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